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                                                                                           E-FILED
                                                             Wednesday, 29 March, 2023 02:42:51 PM
                                                                      Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

CONRAD RACZKOWSKI, individually                   )
and on behalf of all others similarly situated,   )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )     Case No. 22-CV-2061
                                                  )
CONAGRA BRANDS, INC.,                             )
                                                  )
                     Defendant.                   )


                                        ORDER


       On March 22, 2022, Plaintiff, Conrad Raczkowski, individually and on behalf of

all others similarly situated, filed the instant suit against Defendant, Conagra Brands,

Inc. Plaintiff subsequently filed a First Amended Class Action Complaint (#8) (“the

Complaint”) on June 28, 2022.

       Defendant filed a Motion to Dismiss (#16) on August 29, 2022, to which Plaintiff

filed a Memorandum in Opposition (#18) on September 12, 2022. With leave of court,

Defendant also filed a Reply (#20) on October 12, 2022, followed by a Notice of

Supplemental Authority (#22) on November 30, 2022.

       For the following reasons, Defendant’s Motion to Dismiss (#16) is GRANTED in

part and DENIED in part, and Plaintiff’s Complaint (#8) is DISMISSED, without

prejudice.
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                                     I. BACKGROUND

       The following background facts are taken from the allegations in the Complaint.

At this stage of the proceedings, the court must accept as true all material allegations in

the Complaint, drawing all reasonable inferences therefrom in Plaintiff’s favor. See

Lewert v. P.F. Chang’s China Bistro, Inc., 819 F.3d 963, 966 (7th Cir. 2016).

       Defendant manufactures, labels, markets, and sells a vegetable oil spread (“the

spread”) under its Earth Balance brand, which is promoted as “Made with Olive Oil.”

Specifically, the front of the spread’s container contains the following representations:

“Soy Free,” “Non-GMO,” “Vegan,” “Made with Olive Oil,” “Buttery Spread,” and “78%

Vegetable Oils.”

       Vegetable oil spreads are non-dairy alternatives to butter and contain less than

80% fat (as compared to margarine, which is required to have 80% or more fat).

Vegetable oil traditionally refers to oils such as corn oil, canola oil, cottonseed oil, palm

oil, safflower oil, sesame oil, soybean oil, and sunflower oil.

       Annual consumption of margarine and vegetable oil spreads recently reached its

lowest level since the 1940s, because consumers prefer the “natural appeal” of butter,

which is made with simple natural ingredients (like cream and salt), without chemicals

and additives, through the simple process of churning cow’s milk. Vegetable oil

spreads are considered ultraprocessed foods (“UPF”), frowned upon by nutrition

authorities and public health bodies, and are heavily refined in the presence of chemical

catalysts, such as nickel and cadmium. Consumers are also more aware of the healthier



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profile of butter, which contains heart healthier fats, as compared to vegetable oil

spreads, which contain harmful trans fats resulting from hydrogenation and

interesterification.

       To counter the decline in consumption of vegetable oil spreads, companies are

increasingly incorporating alternatives oils like olive oil. Olive oil is the juice of crushed

olives, without additives or harsh processing. Whereas vegetable oils have no flavor or

aroma, olive oil is known for its peppery and grassy taste. Over the past several

decades, olive oil has increased in popularity and its sales exceed all other vegetable oils

combined. The popularity of olive oil has increased, at least in part, due to its

association with the “Mediterranean Diet,” which scientific studies have shown reduces

health risks. Olive oil has high levels of heart-healthy fats, such as polyunsaturated and

monounsaturated fat, which help control cholesterol; contains antioxidants, which

promote immunity and fight free radical damage to slow down the aging process;

promotes brain function, bone strength, and balanced blood sugar; and contains oleic

acid and phenols that are linked to prevention of skin, breast, and colon cancer.

       Plaintiff purchased the spread in question on one or more occasions between

December 31, 2021, and January 31, 2022, in Bradley, Illinois. Based upon the

representations on the front of its container, Plaintiff believed and expected that the

spread was made with “a non-de minimis and/or predominant amount of olive oil,”

rather than primarily with palm and canola oil. Plaintiff likewise alleges that other

“consumers expect it contains a significant, non-de minimis amount of olive oil, in

relative and absolute amounts to all oil used.”

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       However, “the ingredient list reveals a smaller than expected amount of olive

oil” in the spread, which Plaintiff alleges constitutes a “de minimis amount of olive oil.”

The ingredients are listed in order of predominance by weight, beginning with

“Vegetable Oil Blend (Palm Fruit, Canola, Safflower, Extra Virgin Olive, and Flax

Oils).” Therefore, the spread contains more palm fruit, canola, and safflower oil than it

does extra virgin olive oil.

       Plaintiff alleges the amount of olive oil is misleading in light of the front label

representation that the spread is “Made With Olive Oil;” that the amount of olive oil is

insufficient to confer any of the health benefits or taste associated with olive oil; and

that the other oils in the vegetable oil blend lack the health and nutritional attributes of

olive oil.

       The spread is sold at a “premium price” of no less than $3.49 per 13 ounces

(excluding sales tax). Had Plaintiff and the proposed class members known that the

spread contained only a de minimis amount of olive oil, they would not have bought

the spread or would have paid less for it. Defendant sold more of the spread, at higher

prices, than it would have because of the labeling that misled consumers about the

amount of olive oil in the spread.

                                       II. ANALYSIS

       The Complaint contains the following claims: (1) violation of the Illinois

Consumer Fraud and Deceptive Business Practices Act (“ICFA”), 815 Ill. Comp. Stat.

505/1, et seq.; (2) violation of other state consumer fraud statutes, on behalf of other

consumers in the proposed class residing in Arkansas, Iowa, Utah, West Virginia,

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Idaho, Alaska, and Montana; (3) breach of express warranty, implied warranty of

merchantability and/or fitness for a particular purpose, and the Magnuson-Moss

Warranty Act (“MMWA”), 15 U.S.C. §§ 2301, et seq.; (4) common law negligent

misrepresentation; (5) common law fraud; and (6) common law unjust enrichment.

       Defendant filed its Motion to Dismiss pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). Defendant argues that Plaintiff lacks standing to

pursue injunctive relief and to pursue claims based on state consumer protection

statutes other than the ICFA. Defendant further argues that Plaintiff cannot identify

any false or misleading representations under the ICFA and that he otherwise fails to

state a claim for the remaining claims.

       A. Dismissal Under 12(b)(1)

       Defendant has brought its Motion to Dismiss in part under Federal Rule of Civil

Procedure 12(b)(1), alleging lack of subject matter jurisdiction. “To reach the merits of a

case, an Article III court must have jurisdiction. One essential aspect of this

requirement is that any person invoking the power of a federal court must demonstrate

standing to do so.” Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1950 (2019)

(internal quotations omitted). Therefore, the court first considers whether Plaintiff has

Article III standing before turning to the merits.

       At the pleading stage, Plaintiff must allege facts sufficient to establish each of

three elements: (1) that he suffered an “injury in fact”; (2) that the injury is “fairly

traceable to the challenged action of the defendant”; and (3) that the injury is likely to be

redressed by a decision in Plaintiff’s favor. Lujan v. Defenders of Wildlife, 504 U.S. 555,

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560 (1992) (cleaned up). And “a plaintiff must have standing for each form of relief

sought.” Chicago Joe’s Tea Room, LLC v. Village of Broadview, 894 F.3d 807, 813 (7th Cir.

2018).

                1. Injunctive Relief

         In the Complaint, Plaintiff requests preliminary and permanent injunctive relief,

in addition to monetary damages, costs, and expenses. Injunctive relief “is unavailable

absent a showing of irreparable injury, a requirement that cannot be met where there is

no showing of any real or immediate threat that the plaintiff will be wronged again[.]”

City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983).

         Defendant argues that Plaintiff lacks standing to seek injunctive relief in this

case, citing Camasta v. Joseph A. Bank Clothiers, Inc., 761 F.3d 732 (7th Cir. 2014). In

Camasta, the Seventh Circuit held the plaintiff had failed to sufficiently allege that the

defendant’s alleged deceptive trade practices would likely cause him harm in the future

because his complaint made clear that he was now “aware of [the defendant’s] sales

practices.”

         The Northern District of Illinois recently relied on this reasoning when denying

standing for a plaintiff to pursue prospective injunctive relief pursuant to an ICFA

claim regarding the labeling of a vegetable oil spread:

         The labeling of [defendant’s] product does not present a risk of future injury to
         [plaintiff]. She now knows that the product does not meet her previous
         expectations, so she faces no risk of purchasing the product due to any
         misrepresentation on its label. She therefore has no standing to seek prospective
         relief with respect to the product.

Ledezma v. Upfield US Inc., 2022 WL 16553039, at *3 (N.D. Ill. Oct. 31, 2022).

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       But Camasta’s holding that the plaintiff lacked standing to pursue injunctive

relief relied not only on the plaintiff’s alleged awareness of the defendant’s sales

practices, but also on the fact that any future injury was alleged in a general,

“speculative” manner based “solely on the conjecture that because [defendant] harmed

[plaintiff] in the past, they are likely to harm him again in the future.” Camasta, 761 F.3d

at 740-41; see also Le v. Kohls Department Stores, Inc., 160 F.Supp.3d 1096, 1111 (E.D. Wis.

2016) (“It is true … that the [Camasta] court pointed out that the plaintiff was ‘now

aware of the defendant’s sales practices,’ and as such he was not ‘likely to be harmed by

the practices in the future.’ However, the court’s observation reflected the

unremarkable conclusion that ‘without more than the speculative claim that a plaintiff

will again be harmed by the defendant, a plaintiff is not entitled to injunctive relief.’”

(cleaned up)).

       In Le, the Eastern District of Wisconsin held that (1) “[i]nterpreting the Camasta

court’s dicta to instead announce a broad rule that strips a prospective plaintiff of

standing to seek an injunction solely because they are aware of a past wrong overreads

that court’s language and leads to anomalous results” and (2) Camasta was factually

distinguishable because it did not contain an allegation that the allegedly deceptive

sales practices actually continued (only that there was a “substantial danger” that the

practices “would continue”). Le, 160 F.Supp.3d at 1111.

       The court finds Le’s interpretation of the scope of Camasta’s holding persuasive.

In the instant case, paragraph 76 of the Complaint clearly alleges that “Plaintiff seeks

class-wide injunctive relief because the practices continue.” And, as a matter of policy,

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it would lead to an anomalous result if no class action could ever seek as a remedy

prospective injunctive relief against deceptive or unfair consumer practices simply

because the named plaintiff was, almost certainly, necessarily aware of the practices at

the time of filing and therefore was personally unlikely to be deceived (i.e., injured) by

them again in the future, notwithstanding the risk to other consumers in the class who

were yet unaware of the continuing practices.

       For those reasons, the court follows the lead of Le and finds that Plaintiff has

alleged all that is required under Article III for the purpose of bringing a claim for

injunctive relief.

               2. Other State Consumer Fraud Acts Claims

       Defendant also alleges that Plaintiff lacks standing to bring claims under the

consumer fraud laws of states where he did not purchase the spread, i.e., in Arkansas,

Iowa, Utah, West Virginia, Idaho, Alaska, and Montana, because he did not suffer any

injury in fact in those states.

       But although Defendant argues that Plaintiff lacks “standing” to raise claims

under the seven state consumer protection laws other than Illinois’ (the ICFA), “[t]his

challenge is more accurately characterized as an attack not on [Plaintiff’s] Article III

standing per se … but rather on his ability under Rule 23 to represent the multi-state

class.” Halperin v. International Web Services, LLC, 123 F.Supp.3d 999, 1009 (N.D. Ill.

2015) (citing McLaughlin on Class Actions § 4:28 & n.24 (11th ed. 2014) (collecting cases

for the proposition that “most courts have rejected standing challenges to named

plaintiffs who plainly have standing as to their personal claims, but also purport to

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represent a class, for example, with claims under the consumer protection laws of states

in which the named plaintiffs do not reside”).

       Here, the Complaint asserts a claim of “Violation of State Consumer Fraud Acts

(On Behalf of the Consumer Fraud Multi-State Class)” and, in support thereof, alleges

that “[t]he Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class

are similar to the consumer protection statute invoked by Plaintiff” and “[t]he members

of the Consumer Fraud Multi-State Class reserve their rights to assert their consumer

protection claims under the Consumer Fraud Acts of the States they represent and/or

the consumer protection statute invoked by Plaintiff.” Therefore,

       The Complaint makes clear that the so-called “sister state” consumer protection
       laws are only implicated by members of the putative class. Hence, the fact that
       the named Plaintiff[] may not have individual standing to allege violations of
       consumer protection laws in states other than th[at] in which [he] purchased
       Defendant[’s] [product] is immaterial. The issue Defendant[] raise[s] is one of
       predominance—whether “questions of law or fact common to class members
       predominate over any questions affecting only individual members.” Fed. R.
       Civ. P. Rule 23(b)(3)…. This is an issue to be resolved at the class certification
       stage of the litigation.

Ramirez v. STi Prepaid LLC, 644 F.Supp.2d 496, 505 (D.N.J. 2009); see also Halperin, 123

F.Supp.3d at 1009 (“[T]hat question is best deferred to the class certification stage.”)

       Therefore, Defendant’s Motion to Dismiss due to lack of Article III standing is

DENIED, both as it relates to injunctive relief and to claims brought under the

consumer fraud acts of states other than Illinois




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       B. Dismissal Under 12(b)(6)

       Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must

include “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). In order to survive a motion to dismiss under Rule

12(b)(6), “a complaint must contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

       In assessing a motion to dismiss, the court must draw all reasonable inferences in

favor of the plaintiff but need not accept as true any legal assertions, threadbare recitals

of the elements of a cause of action, or conclusory statements. See Vesely v. Armslist

LLC, 762 F.3d 661, 664-65 (7th Cir. 2014); Iqbal, 556 U.S. at 678.

              1. ICFA Claim

       To state a claim under the ICFA, Plaintiff must plausibly allege: (1) a deceptive

act or practice by Defendant; (2) Defendant’s intention that Plaintiff rely on the

deception; (3) the deception occurred in the course of trade or commerce; (4) actual

damage to Plaintiff; and (5) the damage to Plaintiff was proximately caused by

Defendant’s deception. Newman v. Metropolitan Life Insurance Co, 885 F.3d 992, 1000 (7th

Cir. 2018).

       At issue here is whether Defendant engaged in a deceptive practice. Under the

ICFA, “a statement is deceptive if it creates a likelihood of deception or has the capacity

to deceive,” Bober v. Glaxo Wellcome PLC, 246 F.3d 934, 938 (7th Cir. 2001), i.e., when a

plaintiff shows “a probability that a significant portion of the general consuming public

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or of targeted consumers, acting reasonably in the circumstances, could be misled.” Bell

v. Publix Super Markets, Inc., 982 F.3d 468, 474-75 (7th Cir. 2020) (internal quotations

omitted); see also Suchanek v. Sturm Foods, Inc., 764 F.3d 750, 756 (7th Cir. 2014) (a

statement is deceptive if it is either “literally false” or is “likely to mislead … a

reasonable consumer”).

       And whether a statement is deceptive must be considered “in light of the totality

of the information made available to the plaintiff.” Davis v. G.N. Mortgage Corp., 396

F.3d 869, 884 (7th Cir. 2005).

       Applying this standard, Plaintiff has not pled a deceptive act or practice by

Defendant.

       First, none of the information on the spread’s container is “literally false.”

Plaintiff alleges that the representation “Made with Olive Oil” is a misrepresentation

constituting a deceptive act or practice. But it is undisputed, based on Plaintiff’s own

pleadings (which include the spread’s ingredient list), that the product in question was

in fact made with olive oil. See, e.g., Floyd v. Pepperidge Farm, Inc., 581 F.Supp.3d 1101,

1109 (S.D. Ill. 2022) (“The crackers … contained butter; therefore, the use of the word

‘butter’ is descriptive and not false, misleading or fraudulent.”); Jackson v. Kraft Heinz

Foods Co., 2022 WL 4591749, at *4 (N.D. Ill. Aug. 3, 2022) (“[T]he Product contains, as its

label suggests, mozzarella and tomato sauce and is in fact ‘made with “REAL” cheese’”

and “there is no implication beyond what the unambiguous description of the product

of the Product on the label actually says—that the Product contains mini bagels with

mozzarella cheese (which is REAL cheese) and tomato sauce.” (cleaned up)); Ceretti v.

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Whole Foods Market Group, Inc., 2022 WL 1062793, at *3 (N.D. Ill. Apr. 8, 2022) (“Whole

Foods called its product ‘chocolate’ and showed the dessert amidst chunks of chocolate.

As plaintiff acknowledged, the product actually contained chocolate. Whole Foods

never advertised its product as exclusively or 100% chocolate.” (internal citations

omitted)).

       Second, the use of “Made with Olive Oil” on the spread’s container was not

likely to mislead a reasonable consumer. A reasonable consumer would not take that

representation to mean that the product necessarily contains a particular amount of

olive oil, or more olive oil than other vegetable oils. See Weaver v. Champion Petfoods

USA, Inc., 3 F.4th 927, 937 (7th Cir. 2021) (“Several district courts have held that

references to ingredients used do not imply that ingredient is used exclusively.”

(collecting cases)).

       Moreover, Plaintiff plainly alleges in the Complaint that the spread’s container

indicated on the front, adjacent to the “Made with Olive Oil” representation, that it was

made with “78% Vegetables Oils[.]” And Plaintiff defines vegetable oil in paragraph 6

of the Complaint as “traditionally refer[ring] to oils such as corn oil, canola oil,

cottonseed oil, palm oil, safflower oil, sesame oil, soybean oil and sunflower oil” while

referring to olive oil in paragraph 19 as an “alternative oil.” Plaintiff’s own allegations

concede that consumers knew that the spread was made of 78% vegetable oil.

Therefore, Plaintiff cannot plausibly allege that a reasonable consumer would be likely

to be misled because the spread contains more palm fruit, canola, and safflower oil (i.e.,

traditional vegetable oils) than it does extra virgin olive oil.

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       Because the Complaint fails to plausibly allege a deceptive act or practice by

Defendant, the ICFA claim must be dismissed for failure to state a claim.

              2. Other State Consumer Fraud Acts Claims

       As discussed above, in relation to standing, the Complaint “reserves the right” of

members of the class to assert consumer protection claims under state consumer

protection statutes that are similar to the ICFA.

       Without more specific allegations at this time, and only a general reservation of

the right to raise claims similar to those in the ICFA, this claim must fall with the ICFA

claim and is therefore dismissed for the same reasons.

              3. Express Warranty, Implied Warranty, and MMWA Claims

       Under Illinois law, a description of goods can create an express warranty: “Any

description of the good which is made part of the basis of the bargain creates an express

warranty that the goods shall conform to the description.” 810 Ill. Comp. Stat. 5/2-313.

An express warranty arises where (1) a defendant makes an affirmation of fact or

promise (2) that relates to the goods and (3) becomes part of the basis of the bargain

between the parties. See Royal Business Machines, Inc. v. Lorraine Corp., 633 F.2d 34, 41

(7th Cir. 1980).

       To adequately plead a breach of express warranty, a plaintiff must allege (1) the

terms of the warranty; (2) a breach or failure of the warranty; (3) a demand upon the

defendant to perform under the terms of the warranty; (4) a failure by the defendant to

do so; (5) compliance with the terms of the warranty by the plaintiff; and (6) damages.



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See Ibarrola v. Kind LLC, 2015 WL 1188498, at *5 (N.D. Ill. Mar. 12, 2015) (citing Hasek v.

DaimlerChrysler Corp., 745 N.E. 627, 638 (Ill. App. Ct. 2001)).

       Likewise, under Illinois law, a warranty that “goods shall be merchantable is

implied in a contract for their sale,” in which merchantability includes the requirement

that goods “conform to the promises or affirmations of fact made on the container or

label[.]” 810 Ill. Comp. Stat. 5/2-314. Further, where a seller “has reason to know any

particular purpose for which the goods are required and that the buyer is relying on the

seller’s skill or judgment to select or furnish suitable goods, there is … an implied

warranty that the goods shall be fit for such purpose.” 810 Ill. Comp. Stat 5/2-315.

       To adequately plead a breach of implied warranty of merchantability, a

complaint must allege that (1) the defendant sold goods that were not merchantable at

the time of sale; (2) the plaintiff suffered damages as a result; and (3) the plaintiff gave

the defendant notice of the defect. See Solvay USA v. Cutting Edge Fabrication, Inc., 521

F.Supp.3d 718, 725-26 (N.D. Ill. 2021). To state a claim for breach of implied warranty of

fitness for a particular purpose, a complaint must allege that (1) the defendant had

reason to know of the particular purpose for which the plaintiff required the goods; (2)

the plaintiff relied on the defendant’s skill and judgment to select suitable goods; and

(3) the defendant knew of the plaintiff’s reliance on its skill and judgment. See Solvay,

521 F.Supp.3d at 727.

       The MMWA provides a federal private right of action by “allow[ing] consumers

to enforce written and implied warranties in federal court, borrowing state law causes

of action.” Schimmer v. Jaguar Cars, 384 F.3d 402, 405 (7th Cir. 2004). Therefore, it does

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not create new warranties but rather confers federal jurisdiction for state law breach of

warranty claims. Floyd, 581 F.Supp.3d at 1111 (citing Gardynski-Leschuck v. Ford Motor

Co., 142 F.3d 955, 956 (7th Cir. 1998)).

       In his claim for breach of express and implied warranties and the MMWA,

Plaintiff relies on the following allegations:

       88.     The Product was manufactured, identified, marketed and sold by
       Defendant and expressly and impliedly warranted to Plaintiff and class members
       that it was made with a non-de minimis and/or predominant amount of olive
       oil, as opposed to containing mainly palm and canola oil.

       …

       93.    Defendant described the Product so Plaintiff and consumers believed it
       was made with a non-de minimis and/or predominant amount of olive oil, as
       opposed to containing mainly palm and canola oil, which became part of the
       basis of the bargain that it would conform to its affirmations and promises.

       …

       101. The Product … did not conform to the promises or affirmations of fact
       made on the packaging, container or label, because it was marketed as if it was
       made with a non-de minimis and/or predominant amount of olive oil, as
       opposed to containing mainly palm and canola oil.

       But the court has already held that the use of “Made with Olive Oil” on the

spread’s container did not constitute a representation that the product necessarily

contains a particular amount of olive oil, or more olive oil than other vegetable oils.

Therefore, Plaintiff’s claims for breach of express and implied warranties and the

MMWA must also be dismissed for failure to state a claim.




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                 4. Negligent Misrepresentation

       The elements of a negligent misrepresentation claim are:

       (1) a false statement of material fact; (2) carelessness or negligence in ascertaining
       the truth of the statement by the party making it; (3) an intention to induce the
       other party to act; (4) action by the other party in reliance on the truth of the
       statement; (5) damage to the other party resulting from such reliance; and (6) a
       duty on the party making the statement to communicate accurate information.

Garner v. Johnson & Johnson, 2017 WL 6945335, at *4 (C.D. Ill. Sept. 6, 2017) (citing First

Midwest Bank, N.A. v. Stewart Title Guaranty Co., 843 N.E.2d 327, 334-35 (Ill. 2006)).

       Again, the court has already held that the representations contained on the front

of the spread’s packaging did not constitute false statements of material fact. Therefore,

Plaintiff’s negligent misrepresentation claim must likewise be dismissed for failure to

state a claim.

                 5. Fraud

       Heightened pleading requirements apply to complaints alleging fraud, as

Federal Rule of Civil Procedure 9(b) provides that a party alleging fraud or mistake

“must state with particularity the circumstances constituting fraud or mistake[.]”

       Here, Plaintiff’s fraud claim alleges that “Defendant misrepresented and/or

omitted the attributes and qualities of the Product, that it was made with a non-de

minimis and/or predominant amount of olive oil, as opposed to containing mainly

palm and canola oil.”

       Yet again, the court has already held that the representations on the spread’s

packaging did not plausibly suggest to Plaintiff or to other consumers that the spread

was made with a “non de-minimis and/or predominant amount of olive oil” as

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compared to other vegetable oils. Therefore, Plaintiff’s fraud claim must be dismissed

for failure to state a claim.

                 6. Unjust Enrichment

       Finally, the Complaint asserts a claim of unjust enrichment in a single paragraph

that alleges “Defendant obtained benefits and monies because the Product was not as

represented and expected….” Again, the court has already found that this allegation is

not plausible.

       “Illinois precedent indicates that Illinois courts have held that conduct rises to

the level of wrongful, in the context of an unjust enrichment claim, when it violates the

law.” Association Benefit Services, Inc. v. Caremark RX, Inc., 493 F.3d 841, 855 (7th Cir.

2007) (emphasis in original). Because the court has already concluded that Plaintiff has

failed to allege any violations of the law in the instant Complaint, Plaintiff’s claim of

unjust enrichment must also be dismissed.

                 5. Conclusion

       Therefore, for the foregoing reasons, Plaintiff’s Complaint is dismissed in full

under 12(b)(6), for failure to state a claim.

       The Complaint is dismissed without prejudice to Plaintiff filing an amended

complaint. See Runnion ex rel. Runnion v. Girl Scouts of Greater Chicago and Northwest

Indiana, 786 F.3d 510, 519 (7th Cir. 2015) (“Ordinarily … a plaintiff whose original

complaint has been dismissed under Rule 12(b)(6) should be given at least one

opportunity to try to amend [their] complaint before the entire action is dismissed.”).



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         Plaintiff is granted 21 days in which to file an amended complaint. If he does not

do so, the dismissal will convert automatically to a dismissal with prejudice and

judgment will enter.

         IT IS THEREFORE ORDERED THAT:

         (1) Defendant’s Motion to Dismiss (#16) is GRANTED in part and DENIED in

part. The Motion to Dismiss is denied as it relates to alleged lack of subject matter

jurisdiction (Article III standing) under 12(b)(1), but is granted in full due to failure to

state a claim upon which relief can be granted pursuant to 12(b)(6).

         (2) The Amended Complaint (#8) is DISMISSED, without prejudice. Plaintiff is

granted 21 days in which to file a second amended complaint. If he does not do so, the

dismissal will convert automatically to a dismissal with prejudice and judgment will

enter.

         (3) This matter is referred to the Magistrate Judge for further proceedings

consistent with this order.

                          ENTERED this 29th day of March, 2023.

                                   s/Colin Stirling Bruce
                                     COLIN S. BRUCE
                                   U.S. DISTRICT JUDGE




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